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&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE SEVENTH DISTRICT OF TEXAS

&nbsp;

AT AMARILLO

&nbsp;

PANEL D

&nbsp;

NOVEMBER 22, 2010

&nbsp;

______________________________

&nbsp;

&nbsp;

ELISEO RENE ZAMBRANO, APPELLANT

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, APPELLEE

&nbsp;

&nbsp;

_________________________________

&nbsp;

FROM THE 242ND DISTRICT COURT OF HALE
COUNTY;

&nbsp;

NO. B18071-0906; HONORABLE EDWARD LEE SELF, JUDGE

&nbsp;

_______________________________

&nbsp;

Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.

CONCURRING OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; While I agree with the
conclusion reached by the majority, I write separately to address an issue not
raised by Appellant regarding the assessment of attorney's fees.[1]&nbsp; The written judgment in this case orders the
defendant to pay attorney's fees in the amount of $1,200.&nbsp; In order to assess attorney's fees, a trial
court must determine that the defendant has financial resources that enable him
to offset in part or in whole the costs of legal services provided.&nbsp; Tex. Code Crim. Proc. Ann.
art. 26.05(g) (Vernon 2009).&nbsp; Furthermore, the record must reflect some
factual basis to support the determination that the defendant is capable of
paying attorney's fees.&nbsp; Barrera v. State, 291
S.W.3d 515, 518 (Tex.App.--Amarillo 2009, no pet.); Perez v. State, 280 S.W.3d 886, 887 (Tex.App.--Amarillo 2009, no
pet.).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We are unable to find any evidence
that would support a finding that Appellant had financial resources that would
enable him to pay all or any part of the fees paid his court-appointed
counsel.&nbsp; Therefore, we conclude that the
order to pay attorney's fees was improper.&nbsp;
See Mayer v. State, 309 S.W.3d 552, 555-56 (Tex.Crim.App. 2010).&nbsp; No trial objection is required to challenge
the sufficiency of the evidence regarding the defendant's ability to pay.&nbsp; Id.&nbsp; When the evidence does not support an order
to pay attorney's fees, the proper remedy is to delete the order.&nbsp; Id. at 557; See also Anderson
v. State, No. 03-09-00630-CR, 2010 Tex.App. LEXIS
5033, at *9 (Tex.App.--Austin July 1, 2010, no pet.) (also
modifying judgment to delete attorney's fees).&nbsp;
Accordingly, I would modify the judgment to delete the order to pay
attorney's fees, and affirm the judgment as modified

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Patrick
A. Pirtle

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice

&nbsp;

&nbsp;

Do not publish.











[1]Courts of appeals may review unassigned error in criminal cases, particularly where
the record discloses error that should be addressed in the interest of
justice.&nbsp; Hammock v. State, 211 S.W.3d 874, 878
(Tex.App.--Texarkana 2006, no pet.).&nbsp;
Where, as here, the error appears on the face of the judgment, does not
involve the merits of the trial, and is easily corrected by modifying the
judgment, I believe that the interest of justice dictates that we address the
issue.&nbsp;&nbsp; 







